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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ROBIN RICHARDSON                                                       CIVIL ACTION
           v.
                                                                        NO. 20-cv-04466
 AMERICAN RED CROSS, et al.

                            ORDER RE.: SUMMARY JUDGMENT MOTION

          AND NOW, this 22nd day of October, the Court hereby ORDERS that Defendant’s Motion

for Summary Judgment (ECF 24) is DENIED for the reasons stated in the foregoing Memorandum

and parties are to proceed to arbitration.



                                                                       BY THIS COURT:

                                                                       /s/ MICHAEL M. BAYLSON


                                                                       MICHAEL M. BAYLSON
                                                                       United States District Court Judge


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